           Case 2:20-cv-00416-RSM Document 59 Filed 05/24/21 Page 1 of 2



 1                                                THE HONORABLE RICARDO S. MARTINEZ
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   WESTERN TOWBOAT COMPANY,                           IN ADMIRALTY
10                     Plaintiff,                       Case No. 2:20-cv-00416-RSM
11   v.                                                 PRAECIPE
12   VIGOR MARINE, LLC,
13                     Defendant.
14          Vigor’s Surreply at ECF No. 57 was improperly formatted. Vigor respectfully

15   requests that the Court consider the Corrected Surreply, corrected for formatting only.

16          Dated this 24th day of May, 2021.

17                                                SCHWABE, WILLIAMSON & WYATT, P.C.
18

19                                                By:     /s/ Molly J. Henry
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            Case 2:20-cv-00416-RSM Document 59 Filed 05/24/21 Page 2 of 2



 1                                 CERTIFICATE OF SERVICE
 2           I hereby certify that on 24th day of May, 2021, I served the following PRAECIPE on:
 3           Anthony J. Gaspich
             Gaspich Law Office PLLC
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             8094 Barthrop Pl. NE
 5           Bainbridge Island, WA 98110
             tony@gaspichwilliams.com
 6
             J. Stephen Simms (pro hac vice)
 7           Simms Showers LLP
             201 International Circle, Suite 250
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             Baltimore, MD 21030
 9           jssimms@simmsshowers.com

10
             by electronically filing the foregoing with the Clerk of the Court using the
11   CM/ECF system, which will send notification of such filing to all associated counsel.
12

13                                                 /s/ Molly J. Henry
14                                                 Molly J. Henry

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     PDX\MJHE\30918179.1

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